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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
MRM:FAC                                             610 Federal Plaza
F. #2020R00589                                      Central Islip, New York 11722



                                                    March 9, 2021


By E-mail and ECF

Michael Padden
Federal Defenders of New York
1 Pierrepont Plaza, 16th Floor
Brooklyn, NY 11201

              Re:    United States v. Steven Carter
                     Criminal Docket No. 20-295 (WFK)

Dear Mr. Padden:

               Enclosed please find the government’s discovery in accordance with Rule 16
of the Federal Rules of Criminal Procedure. The government also requests reciprocal
discovery from the defendant.

I.     The Government’s Discovery

       A.     Statements of the Defendant

             Please find enclosed body camera videos, portions of which reflect statements
made by the defendant, bates-numbered SC_000001 through SC_000003.

       B.     The Defendant’s Criminal History

             Please find enclosed records pertaining to the defendant’s criminal history,
bates-numbered SC_000004 through SC_000028.

       C.     Documents and Tangible Objects

              Please find enclosed the following:

               New York City Police Department (“NYPD”) records, including
                photographs, relating to the defendant’s arrest, bates-numbered
                SC_000029 through SC_000050; and
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               You may examine the physical evidence discoverable under Rule 16,
including the defendant’s ammunition, by calling me to arrange a mutually convenient time.

       D.     Reports of Examinations and Tests

               Please find enclosed a laboratory report from the NYPD Firearms Analysis
Section related to the firearm and ammunition recovered from the defendant’s bag, bates-
numbered SC_000051 through SC_000052.

             The government will provide you with copies of any additional reports of
examinations or tests in this case as they become available.

       E.     Expert Witnesses

               At this time, the government intends to call an ATF expert to testify that the
firearm and ammunition possessed by the defendant was manufactured outside of New York
State. The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R. Evid. 702,
703 and 705, and will notify you in a timely fashion of any additional expert that the
government intends to call at trial and provide you with a summary of the expert’s opinion.
The identity, qualifications, and bases for the conclusions of each expert will be provided to
you when they become available.

       F.     Brady Material

             The government is not aware of any exculpatory material regarding the
defendant. The government understands and will comply with its continuing obligation to
produce exculpatory material as defined by Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny.

               Before trial, the government will furnish materials discoverable pursuant to
Title 18, United States Code, Section 3500, as well as impeachment materials. See Giglio v.
United States, 405 U.S. 150 (1972).

       G.     Other Crimes, Wrongs or Acts

                  The government will provide the defendant with reasonable notice in advance
of trial if it intends to offer any material under Fed. R. Evid. 404(b).

II.    The Defendant’s Required Disclosures

                The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that the defendant allow
inspection and copying of (1) any books, papers, documents, data, photographs, tapes,
tangible objects, or copies or portions thereof, that are in the defendant’s possession, custody
or control, and that the defendant intends to introduce as evidence or otherwise rely on at
trial, and (2) any results or reports of physical or mental examinations and of scientific tests

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or experiments made in connection with this case, or copies thereof, that are in the
defendant’s possession, custody or control, and that the defendant intends to introduce as
evidence or otherwise rely upon at trial, or that were prepared by a witness whom the
defendant intends to call at trial.

              The government also requests that the defendant disclose prior statements of
witnesses who will be called by the defendant to testify. See Fed. R. Crim. P. 26.2. In order
to avoid unnecessary delays, the government requests that the defendant have copies of those
statements available for production to the government no later than the commencement of
trial.

               The government also requests that the defendant disclose a written summary
of testimony that the defendant intends to use as evidence at trial under Rules 702, 703, and
705 of the Federal Rules of Evidence. The summary should describe the opinions of the
witnesses, the bases and reasons for the opinions, and the qualification of the witnesses.

               Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written
notice of the defendant’s intention, if any, to claim a defense of actual or believed exercise of
public authority, and also demands the names and addresses of the witnesses upon whom the
defendant intends to rely in establishing the defense identified in any such notice.

III.   Emails Sent and Received by Defendants Incarcerated at a Bureau of Prisons Facility

               The government may request that the Bureau of Prisons (“BOP”) produce to
the government emails sent and received by the defendant during his period of incarceration
at a BOP facility (collectively, “BOP email communications”). While it is the government’s
position that BOP email communications, including those between the defendant and his
attorneys and other legal assistants and paralegals on their staff, are not privileged
communications, in most instances, the government will request that the BOP exclude from
any production communications between the defendant and his attorneys and other legal
assistants and paralegals on their staff, if you provide the full email addresses for such
attorneys, legal assistants and paralegals by March 26, 2021. To enable this process, the
government requests that you send an email to the undersigned Assistant U.S. Attorney with
the list of email addresses in the body of the email. If you subsequently wish to provide an
email address for an additional attorney, legal assistant or paralegal or change any of the
previously-provided email addresses, you should send an email with the complete list of
email addresses, including email addresses that remain unchanged, in the body of the email.

IV.    Future Discussions

               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

              Please be advised that, pursuant to the policy of the Office concerning plea
offers and negotiations, no plea offer is effective unless and until made in writing and signed
by authorized representatives of the Office. In particular, any discussion regarding the
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pretrial disposition of a matter that is not reduced to writing and signed by authorized
representatives of the Office cannot and does not constitute a “formal offer” or a “plea offer,”
as those terms are used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye,
132 S. Ct. 1399 (2012).

                                                   Very truly yours,

                                                   SETH D. DUCHARME
                                                   Acting United States Attorney

                                            By:     /s/ Frank A. Cavanagh
                                                   Frank A. Cavanagh
                                                   Assistant U.S. Attorney
                                                   (631) 715-7832

Enclosures

cc:    Clerk of the Court (WFK) (by ECF) (without enclosures)




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